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 DISTRICT COURT, DENVER COUNTY,
 STATE OF COLORADO
 Denver City & County Building                                 DATE FILED: May 18, 2018 4:10 PM
 1437 Bannock Street                                           FILING ID: BF3244AA17FE4
 Denver, CO 80202                                              CASE NUMBER: 2018CV31851


 Plaintiffs: MAUREEN PETERSON and
 MICHAEL PETERSON

 v.

 Defendant: CIGNA HEALTH AND                                COURT USE ONLY
 LIFE INSURANCE COMPANY

 Attorneys for Plaintiffs:
 Daniel J. Caplis, #13171                         Case Number:
 Babar Waheed, #38273
 Ethan A. McQuinn #36618                          Courtroom:
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                            COMPLAINT AND JURY DEMAND


       The Plaintiffs, Maureen and Michael Peterson, by and through their attorneys, The Dan
Caplis Law Firm, LLC hereby file this Complaint and Jury Demand, and state as follows:

                                    GENERAL ALLEGATIONS

1.     Plaintiffs Maureen and Michael Peterson are now, and at all times relevant hereto, residents
       of the State of Colorado.

2.     Cigna Health and Life Insurance Company (“Cigna”) is a Connecticut corporation
       authorized to conduct business in the state of Colorado.

3.     Venue is proper in the City and County of Denver under C.R.C.P. 98, because this is an
       action in tort and contract, Cigna is a non-resident of this state, and Plaintiffs have
       designated the City and County of Denver as the county of venue for this action.




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4.    In March 2017, a construction project began at 1833 Emerson Street, Denver, Colorado, to
      build a residential apartment complex called Emerson Place.

5.    On March 7, 2018, Plaintiffs’ son, Dustin Peterson, was working on said construction
      project as an electrician foreman for his employer, Accent Electrical.

6.    On March 7, 2018, shortly after 12 p.m., the Emerson Place apartment structure caught
      fire.

7.    Tragically, Dustin Peterson was killed in the fire.

8.    Multiple media outlets reported the horrific fire and that it caused the deaths of Dustin
      Peterson and one other person.

9.    Upon information and belief, before Dustin Peterson was killed in the March 7, 2018,
      Emerson Place fire, he purchased life and accidental death insurance from Defendant,
      policy number SGM608812 (“the Policy”).

10.   Plaintiffs Maureen and Michael Peterson are Dustin Peterson’s parents.

11.   Plaintiffs are beneficiaries under Defendant’s Policy.

12.   In late March or early April 2018, Plaintiffs submitted a claim to Defendant and requested
      payment of benefits under the Policy.

13.   The Policy provides both term life insurance benefits as well as accidental death insurance
      benefits.

14.   In response to Plaintiffs’ claim for benefits, in a letter dated April 12, 2018, Defendant
      wrote Plaintiffs and requested a copy of the Certificate of Death and stated that its “review
      is ongoing.”

15.   Plaintiffs provided the death certificate to Defendant.

16.   After Plaintiffs retained the Undersigned counsel, Defendant wrote Plaintiffs on May 3,
      2018, reiterating that Plaintiffs’ claim was “still being reviewed” and that Defendant was
      still waiting on the Denver County Medical Examiner to determine the final cause and
      manner of death.

17.   On May 8, 2018, Plaintiffs, through counsel, responded to Defendant stating that
      Defendant’s position that it did not have sufficient evidence of the cause and manner of
      death was frivolous and was inflicting additional emotional distress on Plaintiffs.

18.   Plaintiffs requested Defendant make full payment under the Policy on or before May 15,
      2018.

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19.    To date, Defendant has made no payments under the Policy.

20.    Defendant has no evidence suggesting that Dustin Peterson died by some other cause or
       manner other than as a result of the Emerson Place fire.

21.    Defendant has chosen to improperly evaluate Plaintiffs’ claim by, among other things,
       compelling its insured to institute litigation to recover amounts due under an insurance
       policy (C.R.S. §10-3-1104(h)(VII)).

                                  FIRST CLAIM FOR RELIEF
                     (Plaintiffs against Defendant for Breach of Contract)

22.    Plaintiffs incorporate all other paragraphs as though fully set forth herein.

23.    Cigna breached its insurance contract with Plaintiffs by failing to pay them all sums they
       were legally entitled to recover under the terms of the Policy.

24.    Cigna also breached the insurance contract by failing to conduct a timely and reasonable
       investigation and evaluation of Plaintiffs’ claim.

25.    Plaintiffs substantially complied with their obligations under the insurance contract.

      WHEREFORE, Plaintiffs request that judgment be entered against Defendant for actual
damages in a sum to be determined by the trier of fact, together with interest and costs to the
maximum extent provided by law.

                               SECOND CLAIM FOR RELIEF
                   (Plaintiffs against Defendant for Statutory Relief under
                                 C.R.S. §§10-3-1115 and 1116)

26.    Plaintiffs incorporate all other paragraphs as though fully set forth herein.

27.    Cigna unreasonably denied and/or delayed payment of benefits to Plaintiffs without a
       reasonable basis.

28.    C.R.S. §10-3-1116 provides in pertinent part that a first-party insurance claimant whose
       claim for benefits has been unreasonably delayed or denied may bring an action in a district
       court to recover reasonable attorney fees and court costs plus two times the covered benefit.

        WHEREFORE, Plaintiffs request that judgment be entered against Cigna in an amount
equal to two times the covered benefit unreasonably delayed or denied by Cigna, together with the
contractual covered benefit, plus Plaintiffs’ reasonable attorney fees, court costs, and interest to
the maximum extent provided by law.




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                                 THIRD CLAIM FOR RELIEF
          (Plaintiffs against Defendant for Bad Faith Breach of Insurance Contract)

29.      Plaintiffs incorporate all other paragraphs as though fully set forth herein.

30.      Cigna acted unreasonably in the following respects, or any of them, and in any other
         respects ultimately revealed by the evidence: delaying payment of benefits to Plaintiffs;
         denying Plaintiffs the full benefits owed to them; failing to conduct a timely and reasonable
         analysis and evaluation of Plaintiffs’ claim; and compelling Plaintiffs to institute litigation
         to recover amounts due under an insurance policy.

31.      Cigna recklessly disregarded the fact that its conduct and decisions with respect to
         Plaintiffs’ claim were unreasonable.

32.      As a direct result of Cigna’s recklessly unreasonable conduct and decisions, Plaintiffs
         sustained non-economic damages in a sum to be determined by the jury, including past and
         future mental pain and suffering, inconvenience, emotional distress, and impairment to the
         quality of their lives.

       WHEREFORE, Plaintiffs pray for judgment against Defendant for past and future
economic and non-economic damages, including, but not limited to: the benefits under the Policy,
past and future physical and mental pain and suffering, inconvenience, emotional stress, and loss
of enjoyment of life. Plaintiffs seek interest, costs, fees as permitted by law, and any further relief
the Court deems just.

                          PLAINTIFFS REQUEST A TRIAL BY JURY

Respectfully submitted this 18th day of May, 2018.

                                                THE DAN CAPLIS LAW FIRM, LLC

                                                /s/ Ethan A. McQuinn
                                                Daniel J. Caplis, #13171
                                                Babar Waheed, #38273
                                                Ethan A. McQuinn, #36618
                                                Attorneys for Plaintiffs
                                                This document was filed electronically pursuant to Rule 121 § 1-26.
                                                The original signed document is on file in counsel’s office.



      Plaintiffs’Address:
      880 Emerald Street
      Broomfield, CO 80020




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